                  Case 2:18-cv-02472-AB-AGR Document 1 Filed 03/27/18 Page 1 of 21 Page ID #:1
    JS 44 (Rev, 06/17)                                                          CIVIL COVER SHEET
    The JS 44 civil cover shel:t and the information Contained herein neither n:place nor supplement lhe liling and service of pleadings or other papers as required by law, except as
    provided by local rules of court. Tl1is fonn. approved by the Judicial Conlilrence ofthe United States in Sepl<lmber 1974, is required for the use of the Clerk of Court for the
    purpose of inlllsting the Civil d,ocket sheet. (SW, INSTIIUCTIONS ON NEXT PAGf,' OF THIS FORM.)


                                                                                                                Te����M�n�cl�on Technology Holdings LTD (TCT); TCL
                                                                                                                Corporation; and TCT Mobile (US) Inc.

         (b)   County of Residence of First Listed Plaintiff            Cook County                               County of Residence of First Listed Defendant
                                         (EXCF:PT IN U.S. l'IAIN71FF CASHS)                                                                     (IN U.S. PIA/NT/FF CASF:S ONf,Y)
                                                                                                                  NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.

      (C) Attorneys (Firm Name, ,lddrcs.,, and Telephone Numhor)                                                   Attorneys (If Known)
    CGS3, LLP: Gregory S. Markow, 12750 High Bluff Drive, Suite 250, San
    Diego, CA 92130, (858) 367-7676; Global IP Law Group, LLC, 55 West
    Monroe Street, Suite 3400, Chicago, IL 60603, (312) 241-1500
    II. BASIS OF JURISDICTION (Placean")("inOneRoxOnly)                                              III. CITIZENSHIP OF PRINCIPAL PARTIES(Placean "X"inOneRoxforP/aintif!
                                                                                                              (For Dil'ersity CasesOnly)                                      and One Box for Defendant)
    0 l     U.S. Government                  � 3 Federal Question                                                                      PTF        DEF                                        PTF      DEF
              Plaintiff                            (U.S. Government Nota Party)                          Citizen ofThis State          O 1        0 1     Incorporated or Principal Place     O 4     0 4
                                                                                                                                                            of Business In This State

    0 2     U.S. Government                  0 4 Diversity                                               Citizen of Another State         0 2     0   2   Incorporated and Principal Place    0 5     0 5
              Defendant                            (Ind icate Citizenship of Parties in Item fff)                                                            of Business ln Another State

                                                                                                                                          0 3     0 3     Foreign Nation                      0 6     0 6


    IV. NATURE OF SUIT (/'la.·•an "X" in oneRox OnlJ!J                                                                                             Click here for: Nature orSuil Code Dcscriotions.
I              CONTRA<::'I                                              TORT- S                            l'ORF1£lTURFJP.JNA l,TV                  RA.NKRUPTCY                  ·rNIER Sl'ATll'n;s           I
    0   110 Insurance                           PERSONAL INJURY                PERSONAL INJURY           0 625 Drug Related Seizure         0 422 Appeal 28 USC 158          0 375 False Claims Act
    0   120 Marine                          0   3 l O Airplane             0 365 Personal Injury -             of Property 2 I use 881      0 423 Withdrawal                 0 376 Qui Tam (3 I USC
    0   130 Miller Act                      0   315 Airplane Product               Product Liability     0 690 Other                              28 USC 157                        3729(a))
    0   140 Negotiable Instrument                      Liability           0 367 Health Care/                                                                                0 400 State Reapportionment
    0   150 Recovery ofOverpayment          0   320 Assault, Libel &              Pharmaceutical                                                             ..._., :·s      0 410 Antitrust
            & Enforcement ofJudgment                   Slander                    Personal Injury                                           0 820 Copyrights                 0 430 Banks and Banking
    0   151 Medicare Act                    0   330 Federal Employers'            Product Liability                                         � 830 Po1cnt                     0 450 Commerce
    0   152 Recovery ofDefaulted                       Liability           0 368 Asbestos Personal                                          0 835 Patent - Abbreviated       0 460 Deportation


                                                                                                                                                                  ..
            Student Loans                   0   340 Marine                         Injury Product                                                 New Drug Application       0 470 Racketeer Influenced and
            (Excludes Veterans)             0   345 Marine Product                 Liability                                                0 840 Trademark                        Corrupt Organizations
    0   153 Recovery of Overpayment                    Liability              PERSONAL      PROPERTY                  ........w               ,
                                                                                                                                              . H IA         .,   ·y         0 480 Consumer Credit
            of Veteran's Benefits           0   350 Motor Vehicle          0 370 Other Fraud             0 710 Fair Labor Standards         0 861 HIA (1395ft)               0 490 Cable/Sat TV
0       160 Stockholders' Suits             0   355 Motor Vehicle          0 371 Truth in Lending              Act                          0 862 Black Lung (923)           0 850 Securities/Commodities/
0       190 Other Contract                           Product Liability     0 380 Other Personal          0 720 Labor/Management             0 863 DIWC/DIWW (405(g))               Exchange
0       195 Contract Product Liability      0   360 Other Personal                Property Damage              Relations                    0 864 SSlD Title XVI             0 890 Other Statutory Actions
0       l 96 Franchise                                Injury               0 385 Property Damage         0 740 Railway Labor Act            0 865 RSI (405(g))               0 891 Agricultural Acts
                                            0   362 Personal Injury -             Product Liability      0 751 Family and Medical                                            0 893 Environmental Matters
                                                     Medical Malpractice                                       Leave Act                                                     0 895 Freedom oflnformation
I            R1,JAL PROPER'l'V                   CIVfL RIGIITS               PRISOl'fER PETITIONS        0 790 Other Labor Litigation         FEDERAL TAX Sl/lTS                    Act
0       2 LO Land Condemnation              0   440 Other Civil Rights         Habeas Corpus:            0 791 Employee Retirement          0 870 Taxes (U.S. Plaintiff      0 896 Arbitration
0       220 Foreclosure                     0   441 Voting                 0 463 Alien Detainee               Income Security Act                 or Defendant)              0 899 Administrative Procedure
0       230 Rent Lease & Ejecnnent          0   442 Employment             0 510 Motions to Vacate                                          0 871 IRS-Third Party                  Act/Review or Appeal of
0       240 Torts to Land                   0   443 Housing/                      Sentence                                                         26 USC 7609                     Agency Decision
0       245 Tort Product Liability                   Accommodations        0 530 General                                                                                     0 950 Constitutionality of
0       290 All Other Real Property         0   445 Amer. wlDisabilities - 0 535 Death Penalty                 IMMIGRATION                                                         State Statutes
                                                     Employment                Other:                    0 462 Naturalization Application
                                            0   446 Amer. w/Disabilities - 0 540 Mandamus & Other        0 465 Other Immigration
                                                     Other                 0 550 Civil Rights                   Actions
                                            0   448 Education              0 555 Prison Condition
                                                                           0 560 Civil Detainee -
                                                                                  Conditions of
                                                                                 Confinement

V. ORIGIN (P/acean "X"inOneBoxOnly)
J:i( 1 Original               O 2 Removed from                 0 3       Remanded from              0 4 Reinstated or  0 5 Transferred from            0 6 Multidistrict  0 8 Multidistrict
           Proceeding              late Court                            Appellate Court                Reopened              Another District                 Litigation     Litigation -
                                                                                                                              (..•f"''"YY}                     Transfer      Direct File
                                                 Cite the U.S. Civil Statute under which you are filing (Do not citejurisdictional statutes unless diversity):
                                                   35 U.S.C 271                                                                                      ----------------
VI. CAUSE OF ACTION                             1- "" "" ...:f:.. :.a "" .;: "" =- :... .:.. - f- - - - - ---------------------
                                                  B rie desc ription o cause :
                                                  Patent lnfrin ement
VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                                                    DEMAND$                                     CHECK YES only if demanded in complaint
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                      JURY DEMAND:                � Yes      ONo
VIII. RELATED CASE(S)
                                                                                        - ---- ----------- DOCKET NUMBER
                       (See instructions):
      IF ANY                               JUDGE
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
03/27/2018
FOR OFFICE USE ON LY

        RECEIPT#                      AMOUNT                                     APPLYING IFP                                     JUDGE                            MAG JUDGE
     Case 2:18-cv-02472-AB-AGR Document 1 Filed 03/27/18 Page 2 of 21 Page ID #:2




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10
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12 Attorneys for Plaintiff Ironworks Patents, LLC
13
14
                                   UNITED STATES DISTRICT COURT
15                                CENTRAL DISTRICT OF CALIFORNIA
16
17 IRONWORKS PATENTS, LLC,                              Case No.
18                 Plaintiff,                           COMPLAINT FOR PATENT
19 v.                                                   INFRINGEMENT AND
                                                        JURY TRIAL DEMANDED
20
   TCL COMMUNICATION TECHNOLOGY
21 HOLDINGS LTD (TCT);
22 TCL CORPORATION and
   TCT MOBILE (US) INC.
23
24                 Defendants.

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     Case 2:18-cv-02472-AB-AGR Document 1 Filed 03/27/18 Page 3 of 21 Page ID #:3



            This is an action for patent infringement arising under the patent laws of the United States, Title
 1
 2 35 of the United States Code, against Defendants TCL Communication Technology Holdings LTD
 3 (TCT), TCL Corporation, and TCT Mobile (US) Inc. (collectively “TCL”) that relates to three U.S.
 4 patents owned by Ironworks Patents, LLC (“Ironworks”): 6,002,390; 9,521,269 and RE39,231
 5
     (collectively, the “Patents-in-Suit”).
 6
                                                      PARTIES
 7
            1.      Plaintiff Ironworks is a limited liability company organized under the laws of the State of
 8
     Illinois, with an office at 125 S. Clark St., 17th Floor, Chicago, Illinois 60603.
 9
10          2.      Defendant TCL Communication Technology Holdings LTD (TCT) is a Chinese

11 corporation with its principal place of business at 15/F, Tower B, TCL Building, Gaoxin Nan Yi Road,
12 Nanshan District, Shenzhen, Guangdong, P.R. China.
13
            3.      Defendant TCL Corporation is a Chinese corporation with its principal place of business
14
     at 22/F, TCL Technology Building, 17 Huifeng 3rd Road, Zhongkai Hi-tech Development District,
15
     Huizhou, Guangdong, 516006 P.R. China.
16
17          4.      Defendant TCT Mobile (US) Inc. is a Delaware corporation with its principal place of

18 business at 25 Edelman, Suite 200, Irvine, CA 92618.
19          5.      TCL makes, uses, imports, sells and offers for sale wireless mobile devices including
20 smartphones and related applications and services.
21
            6.      TCL’s website (http://www.tclcom.com/?page=company_profile) states, “In 2016, TCL
22
     Communication’s total sales volume of handsets and other products was 68.77 million units, while the
23
     cumulative sales volume of smart devices was 38,98 million units. According to the international
24
25 telecommunications research firm IDC and Company data of 2016 Q4, TCL Communication ranked no.
26 7 among global handset manufacturers, tablet business ranked no. 7 among all tablet manufacturers.”
27

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       COMPLAINT                                          1
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            7.      TCL’s website (https://www.tctusa.com/) states, “With a mobile handset product
 1
 2 portfolio that includes devices from TCL, Alcatel and BlackBerry, TCT is currently the fourth largest
 3 handset manufacturer in North America. The company also operates nine R&D centers worldwide and
 4 employs over 13,500 people globally.”
 5
                                           JURISDICTION AND VENUE
 6
            8.      This is a civil action for patent infringement arising under the Patent Laws of the United
 7
     States, 35 U.S.C. § 1, et seq., and more particularly 35 U.S.C. § 271.
 8
            9.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §§ 1331
 9
10 and 1338(a).
11          10.     Each TCL Defendant is subject to this Court’s general personal jurisdiction pursuant to
12 due process and/or the California Long Arm Statute, Cal. Code Civ. Proc § 410.10, due at least to its
13
     substantial business conducted in this District, including: (i) having solicited business in the State of
14
     California, transacted business within the State of California and attempted to derive financial benefit
15
     from residents of the State of California in this District, including benefits directly related to the instant
16
17 patent infringement causes of action set forth herein; (ii) having placed its products and services into the
18 stream of commerce throughout the United States and having been actively engaged in transacting
19 business in California and in this District, and (iii) having committed the complained of tortious acts in
20 California and in this District.
21
            11.     TCL, directly and/or through subsidiaries and agents (including distributors, retailers, and
22
     others), makes, imports, ships, distributes, offers for sale, sells, uses, and advertises (including offering
23
     products and services through its website as well as other retailers) its products and/or services in the
24
25 United States, the State of California and the Central District of California.
26          12.     TCL, directly and/or through its subsidiaries and agents (including distributors, retailers,

27 and others), has purposefully and voluntarily placed one or more of its infringing products and/or

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     COMPLAINT
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     services, as described below, into the stream of commerce with the expectation that they will be
 1
 2 purchased and used by consumers in the Central District of California. These infringing products and/or
 3 services have been and continue to be purchased and used by consumers in the Central District of
 4 California. TCL has committed acts of patent infringement within the State of California and, more
 5
     particularly, within the Central District of California.
 6
                13.   This Court’s exercise of personal jurisdiction over TCL is consistent with the California
 7
     Long Arm Statute, Cal. Code Civ. Proc § 410.10, and traditional notions of fair play and substantial
 8
     justice.
 9
10              14.   Venue is proper in this District under §1400 (b), which provides that “Any civil action for

11 patent infringement may be brought in the judicial district where the defendant resides, or where the
12 defendant has committed acts of infringement and has a regular and established place of business.”
13
     Venue is proper as to Defendant TCT Mobile (US) Inc., which resides in California, because it has a
14
     regular and established place of business in this District at 25 Edelman, Suite 200, Irvine, CA 92618.
15
     Venue is proper as to Defendants TCL Communication Technology Holdings LTD (TCT) and TCL
16
17 Corporation, which are organized under the laws of China, under 28 U.S.C. § 1391(c)(3) that provides
18 that “a defendant not resident in the United States may be sued in any judicial district, and the joinder of
19 such a defendant shall be disregarded in determining where the action may be brought with respect to
20 other defendants.”
21
                      BACKGROUND FACTS REGARDING THE IRONWORKS PATENTS
22
                15.   Ironworks is the owner of record and assignee of each of U.S. Patent Nos. 6,002,390
23
     (“the ’390 Patent”); 9,521,269 (“the ’269 Patent”) and RE39,231 (“the ’231 Patent”), collectively the
24
25 “Patents-in-Suit”.
26              16.   The ’390 Patent and RE39,231 were originally filed by, and assigned to, Sony

27 Corporation (“Sony”).

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     COMPLAINT
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            17.       Sony, based in Japan, is one of the world’s largest consumer electronics and
 1
 2 entertainment companies.
 3          18.       Sony spends a significant amount of revenue on research and development. For example,

 4 Sony Corporation spent over $4 billion on research and development in each year from 2012 -2016 (e.g.
 5
     468,183 million yen in 2016).
 6
            19.       Sony’s long history of innovation has resulted in the company being awarded more than
 7
     3,200 patents.
 8
            20.       The ’269 Patent is a continuation of a continuation application filed by Nokia.
 9
10          21.       Nokia is a Finnish multinational communications and information technology company,

11 and at one time was the world’s largest producer of mobile phones.
12          22.       For example, the world’s first mobile phone satellite call was made on a Nokia phone.
13
            23.       For more than 20 years, Nokia has defined many of the fundamental technologies used in
14
     virtually all mobile devices and taken a leadership role in standards setting. As a result, Nokia owns a
15
     leading share of essential patents for GSM, 3G radio and 4G LTE technologies. These, together with
16
17 other Nokia patents for Wi-Fi and video standards, form the core of Nokia’s patent portfolio.
18          24.       Nokia spends a significant amount of revenue on research and development. For

19 example, Nokia spent about 4.9 billion Euros R&D investment in 2011 and 2016. Between 1984 and
20 2014, Nokia has invested more than 50 billion Euros to create a portfolio of 30,000 patents and patent
21
     applications.
22
            25.       Nokia’s long history of innovation has resulted in the company being awarded more than
23
     30,000 patents in more than 10,000 patent families.
24
25                              THE PATENTS-IN-SUIT AND CLAIMS-IN-SUIT

26          26.       Ironworks has the exclusive right to sue and the exclusive right to recover damages for

27 infringement of the Patents-in-Suit during all relevant time periods.

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     COMPLAINT
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            27.     On December 14, 1999, the ’390 Patent entitled “Text input device and method” was
 1
 2 duly and legally issued by the USPTO.
 3          28.     On December 13, 2016, the ’269 Patent entitled “Method of giving the user information

 4 and portable device” was duly and legally issued by the USPTO.
 5
            29.     On August 8, 2006, U.S. Patent No. RE39,231 entitled “Communication terminal
 6
     equipment and call incoming control method” was duly and legally issued by the USPTO.
 7
                                       TCL’S INFRINGING PRODUCTS
 8
            30.     TCL has been, and now is, directly infringing claims of the Patents-in-Suit under 35
 9
10 U.S.C. § 271(a) by making, using, offering for sale, selling, and/or importing the below accused
11 smartphones and other mobile wireless devices in this District and elsewhere in the United States that
12 include the systems claimed in the Patents-in-Suit and/or by using the methods claimed in the Patents-
13
     in-Suit, including, for example, TCL’s use of said methods during set-up, testing, and demonstration of
14
     its smartphones and tablets.
15
            31.     TCL has been and now is inducing the direct infringement of method claims of the
16
17 Patents-in-Suit pursuant to U.S.C. § 271(b) at least by one or more of making, using, offering for sale,
18 selling and/or importing the below accused smartphones, tablets, and other mobile wireless devices in
19 this District and elsewhere in the United States that were designed and intended to use and/or practice
20 the methods and processes covered by the Patents-in-Suit. Further, TCL has induced infringement by,
21
     for example, providing user guides and other support materials and services to its users and by
22
     advertising features that are used, and benefits that are achieved through use of the Patents-in-Suit.
23
            32.     Despite TCL’s awareness of the Patents-in-Suit, TCL has continued these acts of
24
25 inducement with specific intent to cause and encourage direct infringement of the Patents-in-Suit with
26 willful blindness that such activities occurred, are still occurring, and constitute direct infringement of
27 the Patents-in-Suit.

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     COMPLAINT
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                          TCL’S KNOWLEDGE OF THE PATENTS-IN-SUIT,
 1                              HOW TCL INFRINGES THEM, AND
 2                TCL’S CONTINUED INFRINGEMENT DESPITE THAT KNOWLEDGE

 3          33.     The Patents-in-Suit were previously owned by MobileMedia Ideas, LLC (“MMI”).

 4          34.     Prior to this litigation, MMI attempted to resolve the issues now in this litigation over a
 5
     period of over seven years through at least two meetings with TCL in China; numerous emails to TCL;
 6
     and at least two sets of claim charts sent to TCL.
 7
            35.     On September 28, 2010 counsel for MMI sent a letter to TCL Electronics Inc.
 8
            36.     In addition to identifying the ’390 and ’231 Patents-in-Suit, MMI’s letter identified the
 9
10 TCL products and methods that infringe them, including several specific TCL smartphone models
11 available at that time.
12          37.     TCL did not respond.
13
            38.     On May 18, 2012, MMI followed up with TCL about a potential license to MMI’s
14
     patents and suggested an in-person meeting in Asia to discuss next steps.
15
            39.     TCL did not respond.
16
17          40.     After MMI followed up again by email, representatives of MMI and TCL met in person

18 at TCL’s Shenzhen office in June 2012. MMI presented claim charts to Mr. Zeng Hu for multiple MMI
19 patents, including the ’390 and ’231 Patents.
20          41.     After multiple follow-up emails, the parties met again in May 2013.
21
            42.     Over the following months, MMI sent multiple emails to multiple TCL representatives.
22
            43.     On January 29, 2015, William Meng sent MMI an email stating, “I am William from
23
     TCT, and responsible for Patent work. I received your letter as attached from my colleague, and I am not
24
25 clear about the matter mentioned in your letter, could you please provide more information on that for
26 me? Thanks!”
27          44.     MMI sent follow-up emails to Meng in February 2015, November 2015, and January
28

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     COMPLAINT
     Case 2:18-cv-02472-AB-AGR Document 1 Filed 03/27/18 Page 9 of 21 Page ID #:9



     2016 but TCL did not respond.
 1
 2          45.     TCL never raised any non-infringement defense related to any of the Patents-in-Suit.

 3          46.     TCL never raised any prior art issue related to any of the Patents-in-Suit.

 4          47.     TCL has not agreed to enter into a licensing agreement with MMI or Ironworks.
 5
            48.     TCL has not provided MMI or Ironworks any licensing proposal.
 6
            49.     TCL has not provided any licensing or settlement offer.
 7
            50.     TCL never entered any NDA with MMI or Ironworks.
 8
            51.     This Complaint serves as additional notice to TCL of the Patents-in-Suit and the manner
 9
10 in which they are infringed.
11          52.     Despite knowledge of the Patents-in-Suit and knowledge of the manner in which the
12 Patents-in-Suit are infringed as demonstrated in the provided claim charts, TCL has continued to
13
     infringe, and induce the infringement of, the Patents-in-Suit.
14
                           COUNT I: INFRINGEMENT OF PAT. RE39,231 CLAIM 12
15
            53.     Ironworks reasserts and realleges paragraphs 1 through 52 of this Complaint as though
16
17 set forth fully here.
18          54.     Claim 12 of the ’231 Patent provides:

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     COMPLAINT
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             Preamble    A communication terminal for informing a user of a received call from a
 1
             to Claim 12 remote caller by an alert sound, comprising:
 2
             Element A       an alert sound generator for generating the alert sound when the call is
 3                           received from the remote caller;
 4           Element B       control means for controlling said alert sound generator; and
 5
             Element C       means for specifying a predetermined operation by the user, wherein when
 6                           said alert sound generator is generating the alert sound and said means for
                             specifying said predetermined operation is operated by the user, said
 7                           control means controls said alert sound generator to change a volume of the
                             generated alert sound only for the received call, without affecting the
 8                           volume of the alert sound for future received calls, while leaving a call
 9                           ringing state, as perceived by the remote caller, of the call to the terminal
                             from the remote caller unchanged,
10
             Element D       further comprising: RF signal processing means for transmitting and/or
11                           receiving radio waves; and an antenna for transmitting and/or receiving
                             said radio waves, wherein said call ringing state between said apparatus
12
                             and said remote caller is established by said transmitted and/ or received
13                           radio waves.

14
15           55.       TCL makes, uses, sells, offers for sale, and imports wireless mobile devices, including
16
      mobile smartphones that are communication terminals for informing a user of a received call from a
17
      remote caller by an alert sound (“Accused ’231 TCL Smartphones”). The Accused ’231 TCL
18
      Smartphones include, for example, at least the Alcatel Idol2, Idol3, and IdolX.
19
20           56.       TCL has and continues to make, use, sell, import, and/or offer for sale the Accused ’231

21 TCL Smartphones that meet each and every element of claim 12 of the ’231 Patent.
22           57.       Accused ’231 TCL Smartphones are communication terminals that inform a user of a
23 received call from a remote caller by an alert sound (e.g., a ringtone).
24
             58.       Accused ’231 TCL Smartphones include an alert sound generator (e.g., a loudspeaker and
25
      associated circuitry) for generating the alert sound (e.g., ringtone) when the call is received from the
26
      remote caller.
27

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      COMPLAINT
     Case 2:18-cv-02472-AB-AGR Document 1 Filed 03/27/18 Page 11 of 21 Page ID #:11



             59.     Accused ’231 TCL Smartphones include control means for controlling the alert sound
 1
 2 generator (e.g., muting the ringtone).
 3           60.     Accused ’231 TCL Smartphones include means for specifying a predetermined operation

 4 by the user (e.g., pressing the volume key or turning over the phone).
 5
             61.     When the Accused ’231 Smartphone alert sound generator is generating the ringtone and
 6
      the volume button is pressed by the user or the phone is flipped by the user, the control means controls
 7
      the alert sound generator to change a volume of the generated ringtone only for the received call.
 8
             62.     The ringtone is silenced for the incoming call without affecting the volume of the alert
 9
10 sound for future received calls, while leaving a call ringing state, as perceived by the remote caller,
11 unchanged.
12           63.     Accused ’231 TCL Smartphones include RF signal processing means for transmitting
13
      and/or receiving radio waves and an antenna for transmitting and/or receiving said radio waves.
14
             64.     The call ringing state between the Accused ’231 Smartphone and the remote caller is
15
      established by the transmitted and/ or received radio waves.
16
17           65.     The technology claimed in claim 12 was not well understood, routine, or conventional at

18 the time that the application was filed and provided a technological solution to a technological problem
19 rooted in computer technology.
20           66.     Direct infringement of claim 12 occurs when TCL makes, imports, uses, sells and offers
21
      for sale the Accused ’231 TCL Smartphones that meet claim 12 of the ’231 Patent.
22
             67.     TCL had knowledge of the ’231 Patent and Ironworks’ allegations of how the Accused
23
      ’231 TCL Smartphones infringe claims of the ’231 Patent since at least June 28, 2012.
24
25           68.     TCL makes, uses, offers to sell, sells, and/or imports the Accused ’231 TCL Smartphones

26 knowing that the Accused ’231 TCL Smartphones infringe claim 12 of the ’231 Patent.
27

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                                                          9
      COMPLAINT
     Case 2:18-cv-02472-AB-AGR Document 1 Filed 03/27/18 Page 12 of 21 Page ID #:12



                           COUNT II: INFRINGEMENT OF PAT. RE39,231 CLAIM 2
 1
 2           69.     Ironworks reasserts and realleges paragraphs 1 through 68 of this Complaint as though

 3 set forth fully here.
 4           70.     Claim 2 of the ’231 Patent provides:
 5
             Element A     The communication terminal according to claim 12, wherein said control
 6                         means controls the state of said alert sound generator to stop the sound.

 7
 8           71.     TCL has and continues to make, use, sell, import, and/or offer for sale the Accused ’231
 9
      TCL Smartphones that meet each and every element of claim 2 of the ’231 Patent.
10
             72.     Accused ’231 TCL Smartphones include control means that control the state of the alert
11
      sound generator to stop the sound (e.g., mute the ringtone).
12
13           73.     Direct infringement of claim 2 occurs when TCL makes, imports, uses, sells and offers

14 for sale the Accused ’231 TCL Smartphones that meet claim 2 of the ’231 Patent.
15           74.     TCL had knowledge of the ’231 Patent and Ironworks’ allegations of how the Accused
16 ‘231 TCL Smartphones infringe claims of the ’231 Patent since at least June 28, 2012.
17
             75.     TCL makes, uses, offers to sell, sells, and/or imports the Accused ’231 TCL Smartphones
18
      knowing that the Accused ’231 TCL Smartphones infringe claim 2 of the ’231 Patent.
19
                         COUNT III: INFRINGEMENT OF PAT. 6,002,390 CLAIM 18
20
21           76.     Ironworks reasserts and realleges paragraphs 1 through 75 of this Complaint as though

22 set forth fully here.
23           77.     Claim 18 of the ’390 Patent provides:
24
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             Preamble    A text input method comprising:
 1
             to Claim 18
 2           Element A a display step of displaying a virtual keyboard having at least a plurality of
                         keys for character input;
 3
 4           Element B      an input step of pointing at least each key on the virtual keyboard to
 5                          perform key input by the virtual keyboard; and

 6           Element C      a retrieval step of retrieving a plurality of candidate words from a
                            dictionary storing a plurality of candidate words and a plurality of
 7                          exemplary phrases, using the key input performed from the virtual
                            keyboard at the input step as a retrieval condition;
 8
 9           Element D      the retrieval condition and the candidate words being dynamically changed
                            in accordance with a change in a key input operation state of the virtual
10                          keyboard at the input step.

11
12
             78.     TCL makes, uses, sells, offers for sale, and imports wireless mobile devices, including
13
      mobile smartphones that perform a text input method (“Accused Predictive Text TCL Smartphones”).
14
      The Accused Predictive Text TCL Smartphones include, for example, at least the Alcatel A30, A50, Go
15
      Flip, Idol2, Idol3, Idol4, Idol4S, Idol5, Idol5S, IdolX, Pop4S and the BlackBerry KeyOne.
16
17           79.     TCL has and continues to make, use, sell, import, and/or offer for sale the Accused

18 Predictive Text TCL Smartphones that meet each and every element of claim 18 of the ’390 Patent.
19           80.     Accused Predictive Text TCL Smartphones enable performance of a text input method.
20
             81.     Accused Predictive Text TCL Smartphones display a virtual keyboard having at least a
21
      plurality of keys for character input;
22
             82.     Accused Predictive Text TCL Smartphone users point to at least each key on the virtual
23
24 keyboard to perform key input by the virtual keyboard; and
25           83.     Accused Predictive Text TCL Smartphones retrieve a plurality of candidate words from a

26 dictionary storing a plurality of candidate words and a plurality of exemplary phrases, using the key
27 input performed from the virtual keyboard at the input step as a retrieval condition.

28

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             84.     The retrieval condition and the candidate words are dynamically changed in accordance
 1
 2 with a change in a key input operation state of the virtual keyboard at the input step.
 3           85.     The technology claimed in claim 18 was not well understood, routine, or conventional at

 4 the time that the application was filed and provided a technological solution to a technological problem
 5
      rooted in computer technology.
 6
             86.     TCL had knowledge of the ’390 Patent and Ironworks’ allegations of how the Accused
 7
      Predictive Text TCL Smartphones infringe claims of the ’390 Patent since at least June 28, 2012.
 8
             87.     TCL makes, uses, offers to sell, sells, and/or imports the Accused Predictive Text TCL
 9
10 Smartphones knowing that the Accused Predictive Text TCL Smartphones infringe claim 18 of the ’390
11 Patent.
12           88.     TCL directly infringes claim 18 of the ’390 patent by using the Accused Predictive Text
13
      TCL Smartphones directly, including in relation to product testing.
14
             89.     In the alternative, TCL induces infringement of claim 18 of the ’390 patent by end users
15
      including by distributing the Accused Predictive Text TCL Smartphones that practice the claimed
16
17 process in ordinary use.
18           90.     TCL makes, uses, offers to sell, sells, and/or imports the Accused Predictive Text TCL

19 Smartphones knowing that TCL’s customers and/or end users have directly infringed and are directly
20 infringing each and every claim limitation of at least claim 18 of the ’390 patent. TCL actively induces
21
      customers and end-users to directly infringe each and every claim limitation of at least claim 18 of the
22
      ’390 patent under 35 U.S.C. § 271(b).
23
             91.     TCL has been and is knowingly inducing its customers and/or end users to directly
24
25 infringe at least claim 18 of the ’390 patent with the specific intent to encourage such infringement, and
26 knowing that the acts induced constitute patent infringement. TCL’s inducement includes, for example,
27 encouraging customers to turn on and use the Accused Predictive Text TCL Smartphones by providing

28

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      technical guides, product data sheets, demonstrations, software and hardware specifications, installation
 1
 2 guides, and other forms of support that induce its customers and/or end users to directly infringe at least
 3 claim 18 of the ’390 patent by using the Accused Predictive Text TCL Smartphones’ features that are
 4 used, and benefits that are achieved through claim 18 of the ’390 Patent.
 5
                              COUNT IV: INFRINGEMENT OF PAT. 9,521,269 CLAIM 1
 6
              92.     Ironworks reasserts and realleges paragraphs 1 through 91 of this Complaint as though
 7
      set forth fully here.
 8
              93.     Claim 1 of the ’269 Patent provides:
 9
10            Preamble         A mobile station comprising:
              to Claim 1
11            Element A        a user interface configured to enable a user to control operation of the
                               mobile station by manual input and to obtain information on the operation
12                             of the mobile station,
13
              Element B        a tactile alert device configured to generate a tactile vibration, and
14
              Element C        a control circuit configured to control the tactile alert device to generate a
15                             first tactile vibration with a first pattern in response to a first event and a
                               second tactile vibration with a second pattern that is distinctly humanly
16
                               perceptibly different from the first pattern in response to a second event
17                             different from the first event,

18            Element D        wherein the first event is correct user manual input.
19
20
              94.     TCL makes, uses, sells, offers for sale, and imports wireless mobile devices, including
21
      mobile smartphones that are mobile stations (“Accused Fingerprint Scanning TCL Smartphones”). The
22
      Accused Fingerprint Scanning TCL Smartphones include, for example, at least the Alcatel Idol4S, Idol5,
23
24 Idol5S, and Pop4S and the BlackBerry KeyOne.
25            95.     TCL has and continues to make, use, sell, import, and/or offer for sale the Accused

26 Fingerprint Scanning TCL Smartphones that meet each and every element of claim 1 of the ’269 Patent.
27            96.     Accused Fingerprint Scanning TCL Smartphones are mobile stations.
28

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              97.     Accused Fingerprint Scanning TCL Smartphones include a user interface (e.g., a
 1
 2 touchscreen display, camera, speakers, etc.) configured to enable a user to control operation of the
 3 mobile station by manual input and to obtain information on the operation of the mobile station.
 4            98.     Accused Fingerprint Scanning TCL Smartphones include a tactile alert device (e.g., a
 5
      vibration motor) configured to generate a tactile vibration.
 6
              99.     Accused Fingerprint Scanning TCL Smartphones include a control circuit configured to
 7
      control the tactile alert device to generate a first tactile vibration with a first pattern in response to a first
 8
      event (e.g., a successful fingerprint scan) and a second tactile vibration with a second pattern that is
 9
10 distinctly humanly perceptibly different from the first pattern in response to a second event (e.g., an
11 incoming phone call) different from the first event.
12            100.    The first event is correct user manual input (e.g., a successful fingerprint scan).
13
              101.    The technology claimed in claim 1 was not well understood, routine, or conventional at
14
      the time that the application was filed and provided a technological solution to a technological problem
15
      rooted in computer technology.
16
17            102.    Direct infringement of claim 1 occurs when TCL makes, imports, uses, sells and offers

18 for sale the Accused Fingerprint Scanning TCL Smartphones that meet claim 1 of the ’269 Patent.
19                            COUNT V: INFRINGEMENT OF PAT. 9,521,269 CLAIM 5
20            103.    Ironworks reasserts and realleges paragraphs 1 through 102 of this Complaint as though
21
      set forth fully here.
22
              104.    Claim 5 of the ’269 Patent provides:
23
              Element A        The mobile station of claim 1, wherein the second event is an incoming
24                             call.
25
26
              105.    TCL has and continues to make, use, sell, import, and/or offer for sale the Accused
27

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                                                              14
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      Fingerprint Scanning TCL Smartphones that meet each and every element of claim 5 of the ’269 Patent.
 1
 2            106.    Accused Fingerprint Scanning TCL Smartphones are mobile stations as described in

 3 claim 1 and the claimed second event is an incoming call.
 4            107.    Direct infringement of claim 5 occurs when TCL makes, imports, uses, sells and offers
 5
      for sale the Accused Fingerprint Scanning TCL Smartphones that meet claim 5 of the ’269 Patent.
 6
                              COUNT VI: INFRINGEMENT OF PAT. 9,521,269 CLAIM 9
 7
              108.    Ironworks reasserts and realleges paragraphs 1 through 107 of this Complaint as though
 8
      set forth fully here.
 9
10            109.    Claim 9 of the ’269 Patent provides:

11            Element A        The mobile station of claim 1, wherein the mobile station is a mobile
                               telephone.
12
13
14            110.    TCL has and continues to make, use, sell, import, and/or offer for sale the Accused

15 Fingerprint Scanning TCL Smartphones that meet each and every element of claim 9 of the ’269 Patent.
16            111.    Accused Fingerprint Scanning TCL Smartphones, as described in claim 1, are mobile
17
      telephones.
18
              112.    Direct infringement of claim 9 occurs when TCL makes, imports, uses, sells and offers
19
      for sale the Accused Fingerprint Scanning TCL Smartphones that meet claim 9 of the ’269 Patent.
20
21                        COUNT VII: INFRINGEMENT OF PAT. 9,521,269 CLAIM 11

22            113.    Ironworks reasserts and realleges paragraphs 1 through 112 of this Complaint as though

23 set forth fully here.
24
              114.    Claim 11 of the ’269 Patent provides:
25
              Element A        The mobile station of claim 1 further comprising a battery configured to
26                             supply power to the mobile station.
27

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                                                            15
      COMPLAINT
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                115.   TCL has and continues to make, use, sell, import, and/or offer for sale the Accused
 1
 2 Fingerprint Scanning TCL Smartphones that meet each and every element of claim 11 of the ’269
 3 Patent.
 4              116.   Accused Fingerprint Scanning TCL Smartphones, as described in claim 1, further
 5
      comprise a battery configured to supply power to the mobile station.
 6
                117.   Direct infringement of claim 11 occurs when TCL makes, imports, uses, sells and offers
 7
      for sale the Accused Fingerprint Scanning TCL Smartphones that meet claim 11 of the ’269 Patent.
 8
                         COUNT VIII: INFRINGEMENT OF PAT. 9,521,269 CLAIM 16
 9
10              118.   Ironworks reasserts and realleges paragraphs 1 through 117 of this Complaint as though

11 set forth fully here.
12              119.   Claim 16 of the ’269 Patent provides:
13
                Element A    The mobile station of claim 1, wherein the first vibration provides user
14                           feedback indicating to the user that the first event has occurred.

15
16              120.   TCL has and continues to make, use, sell, import, and/or offer for sale the Accused
17
      Fingerprint Scanning TCL Smartphones that meet each and every element of claim 16 of the ’269
18
      Patent.
19
                121.   Accused Fingerprint Scanning TCL Smartphones are mobile stations as described in
20
21 claim 1, wherein the first vibration provides user feedback indicating to the user that the first event has
22 occurred (e.g., a successful fingerprint scan has occurred).
23              122.   Direct infringement of claim 16 occurs when TCL makes, imports, uses, sells and offers
24
      for sale the Accused Fingerprint Scanning TCL Smartphones that meet claim 16 of the ’269 Patent.
25
                         COUNT VIII: INFRINGEMENT OF PAT. 9,521,269 CLAIM 17
26
                123.   Ironworks reasserts and realleges paragraphs 1 through 122 of this Complaint as though
27

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      set forth fully here.
 1
 2            124.    Claim 17 of the ’269 Patent provides:

 3            Element A       The mobile station of claim 1, wherein the first vibration provides user
                              feedback at the time that the first event has occurred.
 4
 5
 6            125.    TCL has and continues to make, use, sell, import, and/or offer for sale the Accused

 7 Fingerprint Scanning TCL Smartphones that meet each and every element of claim 17 of the ’269
 8 Patent.
 9
              126.    Accused Fingerprint Scanning TCL Smartphones are mobile stations as described in
10
      claim 1, wherein the first vibration provides user feedback at the time that the first event has occurred
11
      (e.g., when a successful fingerprint scan has occurred).
12
13            127.    Direct infringement of claim 17 occurs when TCL makes, imports, uses, sells and offers

14 for sale the Accused Fingerprint Scanning TCL Smartphones that meet claim 17 of the ’269 Patent.
15                                          WILLFUL INFRINGEMENT
16            128.    TCL has infringed and continues to infringe the above identified claims of each of the
17
      Patents-in-Suit despite its knowledge of the ’390 Patent and RE39,231 at least as early as September 28,
18
      2010 and specific knowledge of how TCL’s accused systems/methods infringe the ’390 Patent and
19
      RE39,231 since June 28, 2012.
20
21            129.    TCL’s infringement of the Patents-in-Suit is willful and deliberate and its actions

22 constitute egregious misconduct, including refusing to take a license, refusing to negotiate in good faith,
23 and having knowledge of the patents-in-suit and notice of the infringement but having no reasonable
24
      factual basis for non-infringement or invalidity (e.g., as alleged in paragraphs 34-52 above). This willful
25
      misconduct by TCL entitles Ironworks to enhanced damages under 35 U.S.C. §284 and to attorneys’
26
      fees and costs incurred in prosecuting this action under 35 U.S.C. §285.
27

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                                                           17
      COMPLAINT
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                                                 JURY DEMAND
 1
 2           Ironworks demands a trial by jury on all issues that may be so tried.

 3                                          REQUEST FOR RELIEF

 4           WHEREFORE, Plaintiff Ironworks requests that this Court enter judgment in its favor and
 5
      against Defendants TCL Communication Technology Holdings LTD (TCT), TCL Corporation, and TCT
 6
      Mobile (US) Inc. as follows:
 7
             A.     Adjudging, finding, and declaring that TCL has infringed the above-identified claims of
 8
      each of the Patents-in-Suit under 35 U.S.C. § 271;
 9
10           B.     Awarding the past and future damages arising out of TCL’s infringement of the Patents-

11 in-Suit to Ironworks in an amount no less than a reasonable royalty, together with prejudgment and post-
12 judgment interest, in an amount according to proof;
13
             C.     Adjudging, finding, and declaring that TCL’s infringement is willful and awarding
14
      enhanced damages and fees as a result of that willfulness under 35 U.S.C. § 284;
15
             D.     Adjudging, finding, and declaring that the Patents-in-Suit are valid and enforceable;
16
17           E.     Awarding attorney’s fees, costs, or other damages pursuant to 35 U.S.C. §§ 284 or 285 or

18 as otherwise permitted by law; and
19           F.     Granting Ironworks such other further relief as is just and proper, or as the Court deems
20 appropriate.
21
22
                                                            Respectfully submitted,
23
      March 27, 2018
24
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